     Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 1 of 51




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION and           Case No. 1:17-cv-00124-LLS
THE PEOPLE OF THE STATE OF NEW
YORK, by LETITIA JAMES, Attorney
General of the State of New York,
                  Plaintiffs,
                  v.
QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;
QUINCY BIOSCIENCE, LLC, a limited
liability company;
PREVAGEN, INC., a corporation
d/b/a/ SUGAR RIVER SUPPLEMENTS;
QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited
liability company; and
MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC.,
                  Defendants.


           REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 2 of 51




                                                   TABLE OF CONTENTS

                                                                                                                                          Page

PRELIMINARY STATEMENT ................................................................................................... 1
ARGUMENT ................................................................................................................................. 4
I.        PLAINTIFFS FAILED TO CONTEST A MAJORITY OF DEFENDANTS’
          PROFFERED MATERIAL FACTS, WHICH SHOULD BE DEEMED
          ADMITTED ....................................................................................................................... 4
II.       THE CHALLENGED CLAIMS ARE SUBSTANTIATED BY COMPETENT
          AND RELIABLE SCIENTIFIC EVIDENCE ................................................................... 8
          A.         Plaintiffs’ Experts Did Not Review Defendants’ Substantiation In
                     Accordance With The Relevant Standard For Dietary Supplements..................... 8
          B.         The Challenged Claims Are Substantiated Structure/Function Claims
                     Under The FTC Guidance, Which Does Not Require The Drug Level RCT
                     Advanced By Plaintiffs .......................................................................................... 9
                     1.         Plaintiffs’ Drug-Level RCT Requirement Is Not In the FTC
                                Guidance .................................................................................................... 9
                     2.         Defendants Possess Substantiation For Any “Clinically Shown”
                                Claim ........................................................................................................ 12
                     3.         Plaintiffs’ Cases Are Inapposite Because They Analyze
                                Substantiation For Disease Claims Rather Than Structure/Function
                                Claims ...................................................................................................... 14
          C.         Plaintiffs’ “Contested” Facts Are Based On Unsupported Assumptions
                     Contradicted By The Evidence ............................................................................ 17
                     1.         There Are No Genuine Issues of Fact Regarding the Design of the
                                Madison Memory Study .......................................................................... 18
                     2.         There Are No Genuine Issues of Fact Regarding the Blinding of
                                the Madison Memory Study..................................................................... 18
                     3.         There Are No Genuine Issues of Fact Regarding the Intended
                                Population of the Madison Memory Study .............................................. 19
                     4.         There Are No Genuine Issues of Fact Regarding the Subgroups
                                Analyzed as Part of the Madison Memory Study .................................... 20
                     5.         There Are No Genuine Issues of Fact Regarding Whether the
                                Results of the Madison Memory Study Are “Statistically
                                Significant” .............................................................................................. 21
                     6.         There Are No Genuine Issues of Fact Regarding Whether the
                                Madison Memory Study Results Are “Clinically Meaningful” ............... 23
                     7.         There Are No Genuine Issues of Fact Regarding the Remainder of
                                Defendants’ Substantiation ...................................................................... 23


                                                                       i
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 3 of 51




          D.         Plaintiffs Failed To Provide Any Evidence That The Challenged Claims
                     Are Likely To Mislead Consumers ...................................................................... 25
          E.         Plaintiffs Failed To Support Their Net Impression Argument With Any
                     Evidence ............................................................................................................... 28
III.      PLAINTIFFS’ ATTEMPT TO IMPOSE A HEIGHTENED SUBSTANTIATION
          STANDARD VIOLATES DUE PROCESS.................................................................... 30
IV.       PLAINTIFFS ARE NOT ENTITLED TO INJUNCTIVE RELIEF................................ 32
          A.         The FTC Failed To Satisfy Section 13(b)’s Prerequisites for Permanent
                     Injunctive Relief................................................................................................... 32
          B.         Plaintiffs Are Not Entitled to Injunctive Relief Under W. T. Grant .................... 36
V.        THE NYAG’S CLAIMS ARE PREEMPTED OR BARRED BY THE SAFE
          HARBOR PROVISION IN THE GBL............................................................................ 38
VI.       THE NYAG CONCEDED ITS INABILITY TO RECOVER RESTITUTION ON
          BEHALF OF CONSUMERS WHOSE CLAIMS WERE RELEASED AS PART
          OF THE COLLINS SETTLEMENT ............................................................................... 41
CONCLUSION ............................................................................................................................ 42




                                                                      ii
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 4 of 51




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

American Freedom Defense Initiative v. Metropolitan Transportation Authority,
  815 F.3d 105 (2d Cir. 2016)...............................................................................................36, 37

AMG Cap. Mgmt., LLC v. FTC,
  141 S. Ct. 1341 (2021) ..................................................................................................... passim

Baity v. Kralik,
   51 F. Supp. 3d 414 (S.D.N.Y. 2014)..........................................................................................7

Basic Rsch., LLC v. FTC,
   No. 2:09-cv-0779, 2014 WL 12596497 (D. Utah Nov. 25, 2014) ................................... passim

Bimont v. Unilever U.S., Inc.,
   No. 14 Civ. 7749, 2015 WL 5259688 (S.D.N.Y. Sept. 9, 2015) .............................................39

Christopher v. SmithKline Beecham Corp.,
   567 U.S. 142 (2012) .................................................................................................................31

Cornwell v. Credit Suisse Group,
   729 F. Supp. 2d 620 (S.D.N.Y. 2010)......................................................................................33

Cummiskey v. Chandris, S.A.,
  719 F. Supp. 1183 (S.D.N.Y. 1989), aff’d 895 F.2d 107 (2d Cir. 1990) .................................17

Daniel Chapter One v. FTC,
   405 Fed. App’x 505 (D.C. Cir. 2010) ................................................................................16, 23

DeLaurentis v. Job Shop Technical Servs., Inc.,
   914 F. Supp. 57 (E.D.N.Y. 1996) ............................................................................................33

Duncan v. Walker,
   533 U.S. 167 (2001) .................................................................................................................33

Elkind v. Revlon Consumer Prods. Corp.,
    No. 14 CV 2484, 2015 WL 2344134 (E.D.N.Y. May 14, 2015) .............................................40

Evers v. Gen. Motors Corp.,
   770 F.2d 984 (11th Cir. 1985) .................................................................................................17

FTC v. Alcoholism Cure Corp.
  No. 3:10-cv-266-34JBT, 2011 WL 13137951 (M.D. Fla. Sept. 16, 2011)..................12, 16, 26




                                                                   iii
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 5 of 51




FTC v. Am. Future Sys., Inc.,
  No. 20-CV-2266, 2021 WL 3185777 (E.D. Pa. July 26, 2021)...............................................35

FTC v. Commerce Planet, Inc.,
  878 F. Supp. 2d 1048 (C.D. Cal. 2012), aff'd in part, 642 Fed. App’x 680 (9th
  Cir. 2016), and aff'd in part, vacated in part, remanded, 815 F.3d 593 (9th
  Cir. 2016) .................................................................................................................................27

FTC v. Coorga Nutraceuticals,
  201 F. Supp. 3d 1300, 1314 (D. Wyo. 2016) ...........................................................................15

FTC v. Cyberspace.com, LLC,
  453 F.3d 1196 (9th Cir. 2006) .................................................................................................29

FTC v. Direct Mktg. Concepts, Inc.,
  624 F.3d 1 (1st Cir. 2010) ........................................................................................................27

FTC v. Elec. Payment Sol. of Am. Inc.,
  No. CV-17-02535, 2021 WL 3661138 (D. Ariz. Aug. 11, 2021) ............................................34

FTC. v. Five-Star Auto Club, Inc.,
  97 F. Supp. 2d 502 (S.D.N.Y. 2000)........................................................................................29

FTC v. Garden of Life, Inc.,
  516 Fed. App’x 852 (11th Cir. 2013) ........................................................................8, 9, 10, 11

FTC v. H. N. Singer, Inc.,
  668 F.2d 1107 (9th Cir. 1982) ...........................................................................................34, 35

FTC v. Hoyal & Assocs.,
  859 Fed. App’x 117 (9th Cir. 2021) ........................................................................................34

FTC v. Med. Billers Network, Inc.,
  543 F. Supp. 2d 283 (S.D.N.Y. 2008)......................................................................................29

FTC v. Moses,
  914 F.3d 297 (2d Cir. 2019).....................................................................................................35

FTC v. Nat’l Urological Grp., Inc.,
  645 F. Supp. 2d 1167, 1186-87 (N.D. Ga. 2008), aff'd, 356 Fed. App'x (D.C.
  Cir. 2010) .....................................................................................................................13, 15, 26

FTC v. Neora LLC,
  552 F. Supp. 3d 628 (N.D. Tex. 2021) ....................................................................................35

FTC v. Noland,
  No. CV-20-00047, 2021 WL 4127292 (D. Ariz. Sept. 9, 2021) .............................................34




                                                                      iv
           Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 6 of 51




FTC v. NPB Advert., Inc.,
  218 F. Supp. 3d 1352 (M.D. Fla. 2016) ...................................................................................16

FTC v. Quincy Bioscience Holding Company, Inc.,
  272 F. Supp. 3d 547 (S.D.N.Y. 2017)..........................................................................13, 21, 26

FTC v. Roca Labs, Inc.,
  345 F. Supp. 3d 1375, 1388 (M.D. Fla. 2018) ...................................................................15, 16

FTC v. SuperTherm Inc.,
  No. CV-20-08190, 2021 WL 3419035 (D. Ariz. Aug. 5, 2021) ..............................................35

Gayle v. Pfizer, Inc.,
   452 F. Supp. 3d 78 (S.D.N.Y. 2020)........................................................................................40

In re GNC Corp.,
    789 F.3d 505 (4th Cir. 2015) ...................................................................................................26

I.M. v. United States,
   362 F. Supp. 3d 161 (S.D.N.Y. 2019)........................................................................................5

In re Santa Fe Natural Tobacco Co. Mktg. & Sales Pracs. & Prod. Liab. Litig.
    288, F. Supp. 3d 1087 (D.N.M. 2017) .....................................................................................37

Independent Directory Corp. v. FTC,
   188 F.2d 468 (2d Cir. 1951).....................................................................................................29

Izquierdo v. Mondelez-Int’l, Inc.,
    No. 16 Civ. 04697, 2016 WL 6459832 (S.D.N.Y. Oct. 26, 2016) ..........................................41

Julio & Sons Co. v. Travelers Cas. and Sur. Co. of Am.,
    984 F. Supp. 2d 330 (S.D.N.Y. 2010)......................................................................................38

Lara v. Cool Clouds Distribution, Inc.,
   No. 20-8030, 2021 WL 613842 (D.N.J. Feb. 16, 2021) ..........................................................40

Merck Consumer Pharms. Co. v. Smithkline Beecham Corp.,
   960 F.2d 294 (2d Cir. 1992).....................................................................................................28

Colon ex rel. Molina v. BIC USA, Inc.,
   136 F. Supp. 2d 196 (S.D.N.Y. 2000)......................................................................................38

Morelli v. Weider Nutrition Grp.,
  275 A.D.2d 607 (1st Dep’t 2000) ............................................................................................40

New York State Ophthalmological Soc. v. Bowen,
   854 F.2d 1379 (D.C. Cir. 1988) ...............................................................................................17




                                                                  v
           Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 7 of 51




People v. Gen. Elec. Co.,
   302 A.D.2d 314 (1st Dep’t 2003) ............................................................................................37

People v. Ludwig Bauman & Co.,
   56 Misc. 2d 153 (Sup. Ct. N.Y. Cnty. 1968) ...........................................................................37

In re PepsiCo, Inc., Bottled Water Mktg. & Sales Pracs. Litig.,
    588 F. Supp. 2d 527 (S.D.N.Y. 2008)......................................................................................39

Pom Wonderful, LLC v. FTC,
   777 F.3d 478 (D.C. Cir. 2015) ...........................................................................................14, 15

Rardon v. Holland,
   279 F. Supp. 3d 93 (D.D.C. 2017) ...........................................................................................18

Red Pocket, Inc. v. Interactive Commc’ns Int’l, Inc.,
   No. 17-CV-5670, 2020 WL 838279 (S.D.N.Y. Feb. 20, 2020).................................................8

Removatron Int’l Corp. v. FTC,
   884 F.2d 1489 (1st Cir. 1989) ............................................................................................29, 30

Schmelczer v. Penn Credit Corp.,
   No. 20-CV-2380, 2022 WL 862254 (S.D.N.Y. Mar. 23, 2022) ................................................5

SEC v. Commonwealth Chem. Sec., Inc.,
   574 F.2d 90 (2d Cir. 1978).......................................................................................................35

Southside Hosp. v. New York State Nurses Ass’n,
   No. CV-15-2282, 2017 WL 9485721 (E.D.N.Y. Jan. 26, 2017) ...............................................5

Standish v. Jackson Hole Mountain Resort Corp.,
   997 F.3d 1095 (10th Cir. 2021) ...............................................................................................17

State v. Midland Equities,
    117 Misc. 2d 203 (Sup. Ct. N.Y. Cnty. 1982) .........................................................................37

Stokely-Van Camp, Inc. v. Coca-Cola Co.,
    646 F. Supp. 2d 510 (S.D.N.Y. 2009)......................................................................................26

Thompson v. Glob. Contact Servs., LLC,
   No. 20-CV-651, 2021 WL 3486944 (E.D.N.Y. July 21, 2021) .................................................4

Trans World Accounts, Inc. v. FTC,
   594 F.2d 212 (9th Cir. 1979) ...................................................................................................28

Trustees of Loc. 8A-28A Welfare Fund v. Am. Grp. Administrators,
   No. 14-CV-1088, 2017 WL 3700899 (E.D.N.Y. Aug. 25, 2017) .............................................6




                                                                 vi
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 8 of 51




U.S. v. Bell,
   524 F.2d 202 (2d Cir. 1975).....................................................................................................33

United States v. Bayer Corp.,
   No. 07-01, 2015 WL 5822595 (D.N.J. Sept. 24, 2015) .............................................8, 9, 10, 11

Valade v. City of New York,
   949 F. Supp. 2d 519 (S.D.N.Y. 2013)........................................................................................6

Virgin Atlantic Airways Ltd. v. British Airways PLC,
   69 F. Supp. 2d 571 (S.D.N.Y. 1999), aff’d, 257 F.3d 256 (2d Cir. 2001) ...........................9, 17

Statutes and Other Authorities

FTC Act, 15 U.S.C. § 45 ........................................................................................................ passim

New York General Business Law §§ 349 and 350 ........................................................................41

Fed. R. Civ. P. 8(c) ........................................................................................................................38

Local Rule 56.1 ...................................................................................................................... passim




                                                                     vii
          Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 9 of 51




        Defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC,

Prevagen, Inc., Quincy Bioscience Manufacturing, LLC (collectively “Quincy”), and Mark

Underwood1 (collectively with Quincy, “Defendants”) hereby submit this reply memorandum of

law in further support of their Motion for Summary Judgment (Dkt. 227) (“Motion” or “Mot.”)

and Statement of Material Facts (Dkt. 221) (“SOF”) filed April 14, 2022, and in response to

Plaintiffs Opposition (Dkt. 255) (“Opposition” or “Opp.”) and Counterstatement of Material Facts

(Dkt. 257) (“CSOF”) filed June 16, 2022. Defendants are also filing herewith a Reply Statement

of Materials Facts (“RSOF”).

                                     PRELIMINARY STATEMENT

        Plaintiffs—the Federal Trade Commission and the New York Attorney General—have

been investigating Defendants (and then litigating against them) for seven years at this point. But

after all that time, after the extensive investigation, after the endless motions, after all of the fact

and expert discovery, including scores of depositions, Plaintiffs have no competent evidence

whatsoever to create a material dispute of fact on the key elements of their claims, and summary

judgment must be granted. Most importantly, not one of Plaintiffs’ experts opined as to whether

Quincy satisfied the FTC’s own standard for advertising claims about dietary supplements.

Because Plaintiffs’ only challenges to Defendants’ Motion (1) rely on expert opinion that is not

relevant to Quincy’s substantiation burden, or (2) are based on factually unsupported, conclusory

arguments, Plaintiffs have not shown any legally relevant disputes of material fact, and

Defendants’ Motion should be granted.




1
 Mr. Underwood participates in this reply brief only as to the claims asserted by the FTC because the claims by the
NYAG against Mr. Underwood have been dismissed with prejudice. (Dkt. 272.)



                                                         1
           Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 10 of 51




           Defendants’ Motion established that the Challenged Claims are substantiated

“structure/function” claims and that Quincy’s scientific substantiation far exceeds what is required

by law. (Mot. at 18—31.) In their Opposition, Plaintiffs finally—and for the first time in this

Action—essentially concede that the FTC Guidance2 governs the substantiation standard for the

Challenged Claims. (CSOF ¶¶ 1, 59—63, 147; Opp. at 10, 12—15 (stating “competent and reliable

scientific evidence” standard is the “flexible” standard “set forth in the FTC Guidance”).) That

admission dooms Plaintiffs’ case because none of Plaintiffs’ experts were even aware of the FTC

Guidance when they rendered their opinions in this matter and none of them considered the

substantiation standard set forth therein for dietary supplements. Plaintiffs cannot satisfy their

burden of establishing that there is a dispute of material fact as to whether the Challenged Claims

are adequately substantiated or whether the Challenged Claims are “likely to mislead consumers

acting reasonably under the circumstances.”                Defendants are therefore entitled to summary

judgment on all counts.

           Undeterred, Plaintiffs attempt to shoehorn their subjective, heightened drug-level RCT

requirement into the FTC Guidance. But the FTC Guidance for dietary supplement companies

does not require RCTs, let alone the specific drug-level RCT design that Plaintiffs and their experts

seek to impose retroactively on Quincy. Plaintiffs’ attempt to reinvent the substantiation standard

through their experts has been rejected multiple times and should be rejected again as inconsistent

with the relevant law and FTC Guidance, and violative of Defendants’ Due Process rights.

           Plaintiffs’ attempts at attacking the specific studies that comprise Defendants’

substantiation of the Challenged Claims fall far short. Plaintiffs’ Opposition fails to identify any

genuine disputes of material fact regarding the Madison Memory Study or any of the other


2
    Defined terms herein have the same meaning as those defined in Defendants’ opening brief unless otherwise noted.



                                                          2
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 11 of 51




substantiation offered by Defendants. Plaintiffs may disagree with Defendants’ proposed material

facts, but mere disagreement, legal argument, objections, and unsupported expert assumptions do

not create triable issues of fact or preclude summary judgment. Because Plaintiffs have failed to

genuinely dispute nearly all of Defendants’ proffered facts regarding the substantiation for the

Challenged Claims, summary judgment is warranted in Defendants’ favor.

       Plaintiffs also failed to offer any evidence whatsoever as to how consumers interpreted

Quincy’s marketing claims, arguing instead that they have no such burden. In fact, Plaintiffs’

Opposition actually confirms the need for such evidence given Plaintiffs’ assertions that the terms

“clinical” and “RCT” are vague and ambiguous. Therefore, Plaintiffs should have offered extrinsic

evidence of how consumers perceived Quincy’s “clinically shown” marketing claims. Nor is this

Court required to accept Plaintiffs’ self-serving characterizations of the Collins Qualifier, absent

any corroborating consumer perception evidence. Plaintiffs’ tactical litigation decision not to offer

any extrinsic evidence of consumer perception should be fatal to their claims.

       Plaintiffs’ interpretation of Section 13(b) of the FTC Act is yet another example of the

FTC’s litigation shortcuts. In AMG Capital Management, LLC v. FTC, 141 S. Ct. 1341 (2021),

the Supreme Court questioned the FTC’s ability to obtain a permanent injunction when it had not

previously sought or obtained a preliminary injunction at the outset of litigation. Plaintiffs ignore

both the Supreme Court’s discussion from AMG and the plain language of the FTC Act, and instead

continue to cling to outdated, non-binding precedent that holds otherwise. This Court should

carefully review the text of Section 13(b), give appropriate deference to the Supreme Court’s

recent pronouncement, and enter summary judgment for Defendants because the FTC admittedly

failed to seek a preliminary injunction at the outset of this case.




                                                  3
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 12 of 51




       The NYAG’s response to Defendants’ preemption and safe harbor arguments—that FDA

law does not apply and therefore cannot preempt its claims—is similarly meritless. Throughout

this Action, Plaintiffs have affirmatively paid deference to FDA law and DSHEA through their

continued reliance on a (subsequently closed) FDA warning letter. Thus, the NYAG’s argument

that DSHEA (and the FTC Guidance) does not preempt their claims or trigger Defendants’ safe

harbor defense is irreconcilable with their own conduct in this litigation and simply wrong.

       Finally, the NYAG’s feigned opposition to Defendants’ position on restitution

demonstrates that Plaintiffs are determined to disagree with everything Defendants say in an

attempt to create an issue of fact that would defeat summary judgment when there is nothing for

them to dispute. But the parties agree that the NYAG is not entitled to restitution on behalf of

New York residents who purchased Prevagen® prior to the Collins Settlement.                Summary

judgment should be entered accordingly in Defendants’ favor with respect to each of Plaintiffs’

claims, which should all be dismissed with prejudice.

                                           ARGUMENT

I.     PLAINTIFFS FAILED TO CONTEST A MAJORITY OF DEFENDANTS’
       PROFFERED MATERIAL FACTS, WHICH SHOULD BE DEEMED ADMITTED

       Plaintiffs’ response to Defendants’ Statement of Material Facts is, at best, woefully

deficient and, at worst, a flagrant disregard of Local Rule 56.1. That Rule is crystal clear: in order

to contest a fact set forth in the moving party’s Rule 56.1 statement, the non-moving party must

“specifically controvert” that fact, and the statement controverting that fact must be followed by a

citation to record evidence. Local. Civ. R. 56.1(c), (d). Any fact that is not “specifically

controverted” will be “deemed to be admitted.” Local Civ. R. 56.1(c). Conclusory denials that

are not supported by citations to record evidence—the vast majority of Plaintiffs’ denials here—

are insufficient. See Thompson v. Glob. Contact Servs., LLC, No. 20-CV-651, 2021 WL 3486944,



                                                  4
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 13 of 51




at *2 (E.D.N.Y. July 21, 2021), report and recommendation adopted, No. 20-CV-651, 2021 WL

3476675 (E.D.N.Y. Aug. 6, 2021); see also I.M. v. United States, 362 F. Supp. 3d 161, 173 n.8

(S.D.N.Y. 2019). All such improperly “contested” facts should be deemed admitted.

       First, Plaintiffs have lodged objections to various facts as “immaterial,” “vague,” or

“incomplete” without citations to any record evidence that refute their truth. These objections do

not “specifically controvert” the asserted facts. See Schmelczer v. Penn Credit Corp., No. 20-CV-

2380, 2022 WL 862254, at *1 n.1 (S.D.N.Y. Mar. 23, 2022) (“[W]hen a Party objects to the

inclusion of a statement solely on the basis that the statement asserts a fact that is ‘immaterial,’ the

Court will not consider this technicality as creating a dispute.”); Southside Hosp. v. New York State

Nurses Ass’n, No. CV-15-2282, 2017 WL 9485721, at *3 (E.D.N.Y. Jan. 26, 2017) (objection

alone does not controvert fact), report and recommendation adopted, No. 15-CV-2282, 2017 WL

837673 (E.D.N.Y. Mar. 3, 2017). Plaintiffs’ violations of Local Rule 56.1 permeate their response.

For example, in response to Defendants’ proffered fact that the phrase “dietary supplement” has

been on every bottle of Prevagen sold, Plaintiffs argue that the asserted fact is “irrelevant and

immaterial” and that “Defendants have not produced every package or label of Prevagen sold since

2007.” (CSOF ¶ 13; see also ¶¶ 14, 52.) In the same conclusory manner, Plaintiffs purport to

contest facts surrounding Defendants’ settlement of the Collins litigation (id. ¶¶ 39—44), Quincy’s

consultation with outside counsel in connection with its advertising claims (id. ¶¶ 74—76),

Quincy’s open-label trials (id. ¶¶ 89—90), Defendants’ experts’ qualifications (id. ¶ 121), and the

testimony of Plaintiffs’ own experts (id. ¶¶ 124—128)—all simply by resorting to objections.

Because they cite no record evidence in their responses and rely only on bare conclusory

objections, Defendants’ proposed facts should be deemed admitted.




                                                   5
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 14 of 51




       Second, Plaintiffs respond to a number of Defendants’ facts with legal argument, which is

not only out of place but “unhelpful” in a Rule 56.1 statement and should be disregarded. See

Valade v. City of New York, 949 F. Supp. 2d 519, 521 n.1 (S.D.N.Y. 2013); Trustees of Loc. 8A-

28A Welfare Fund v. Am. Grp. Administrators, No. 14-CV-1088, 2017 WL 3700899, at *4

(E.D.N.Y. Aug. 25, 2017). For example, in response to Defendants’ assertion that it agreed to add

the Qualifier to its labeling as part of the Collins settlement, Plaintiffs cite inapposite case law to

argue that a disclaimer does not necessarily cure an allegedly deceptive ad, yet offer no evidence

of the effect of the Qualifier on consumers’ net impression of Quincy’s advertising. (CSOF ¶ 45.)

In fact, they have not offered any evidence from any consumer in this action. Instead, Plaintiffs

simply argue their position. Such uncontroverted facts therefore should be deemed admitted.

       And third, Plaintiffs purport to contest facts by citing to record evidence that in no way

disputes the fact asserted, and in some cases is consistent with the fact set forth by Defendants.

For example, Plaintiffs “contest” Defendants’ statements that the advertisements featured in the

Complaint are no longer being disseminated in that form by citing irrelevant material (other

advertisements) and including unsupported argument in an attempt to support their assertion that

the “disclaimer does not cure the deceptive net impression of Defendants’ ads.” (Id. ¶¶ 26, 29,

50.) Plaintiffs couple those irrelevant assertions with improper argument regarding their legal

contentions in this case: that Quincy is making claims that are similar to the ones that were made

in those advertisements. (Id.) But nowhere in Plaintiffs’ response is any evidence showing that

the advertisements attached to the Complaint are being disseminated in the same form today or

that Defendants intend to resume dissemination of them in the future.

       Many of Plaintiffs’ other responses likewise do not address the substance of Defendants’

proposed facts. For example:




                                                  6
       Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 15 of 51




              Defendants stated that Prevagen’s target market is older, healthy adults who are
               cognitively normal or who have mild cognitive impairment. In response, Plaintiffs
               cite an FDA warning letter that contains unproven allegations (CSOF ¶ 16) and
               ignore that the FDA closed that warning letter. (Graham Reply Decl. Ex. QQ.)

              Defendants stated that they entered into a research agreement with a laboratory at
               the University of Wisconsin-Milwaukee and that the laboratory has conducted
               studies on apoaequorin in animal models. In response, Plaintiffs do not contest the
               existence of the research agreement or studies, but cite to their experts’ unsupported
               opinions that “[s]tudies conducted in animal models are insufficient to substantiate
               the advertising claims at issue in this case.” (CSOF ¶ 83; see also ¶¶ 84—87.)

              Defendants stated that Plaintiffs have not issued any guidance or regulation
               prohibiting subgroup analyses. In response, Plaintiffs cite language in the FTC
               Guidance that does not even mention subgroups. (Id. ¶ 77; see also ¶¶ 78—79
               (same for Defendants’ statements that Plaintiffs have not issued guidance regarding
               the required level of statistical significance for efficacy claims).)

              Defendants stated that an open-label trial showed a benefit on questions related to
               cognitive function. In response, Plaintiffs assert that “[d]emonstrating efficacy
               requires comparison of a treatment to a control.” (Id. ¶ 91.)

              Defendants stated that the journal, Advances in Mind Body Medicine, published a
               peer-reviewed paper that reported on a subset of results from the Madison Memory
               Study. In response, Plaintiffs do not contest the peer-reviewed publication but
               argue, without citing evidence, that the journal has a “low ‘impact factor.’” (Id. ¶
               115.)

              Defendants stated that Plaintiffs’ experts were not familiar with the “competent and
               reliable scientific evidence” standard set forth in the FTC Guidance. In response,
               Plaintiffs cite to their experts’ purported expertise in the fields of cognition and
               biostatistics. (Id. ¶¶ 129—131.)

              And, finally, and perhaps most egregiously, in response to Defendants’ statement
               that their experts evaluated Quincy’s scientific substantiation in accordance with
               the “flexible, totality of the evidence approach set forth in the Guidance” and that
               their experts concluded that the Challenged Claims were substantiated, Plaintiffs
               baldly state that Defendants’ experts did not do so and cite only to nine pages of
               the FTC Guidance. (Id. ¶ 122.)

       In short, Plaintiffs are “speaking past” Defendants’ material facts. Baity v. Kralik, 51 F.

Supp. 3d 414, 418 (S.D.N.Y. 2014). Because Plaintiffs often cite no evidence at all (and when

they do cite evidence, that evidence does not actually contest the facts asserted by Defendants),



                                                 7
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 16 of 51




those facts should be deemed admitted. See Red Pocket, Inc. v. Interactive Commc’ns Int’l, Inc.,

No. 17-CV-5670, 2020 WL 838279, at *1 n.1 (S.D.N.Y. Feb. 20, 2020) (“Where the Parties

identify disputed facts but with semantic objections only or by asserting irrelevant facts, these

purported disputes, which do not actually challenge the factual substance described in the relevant

paragraphs, the Court will not consider them as creating disputes of fact.”).

       As set forth herein, this Court should reject Plaintiffs’ attempt to create material issues of

disputed fact where none exist, and grant summary judgment in Defendants’ favor.

II.    THE CHALLENGED CLAIMS ARE SUBSTANTIATED BY COMPETENT AND
       RELIABLE SCIENTIFIC EVIDENCE

       A.      Plaintiffs’ Experts Did Not Review Defendants’ Substantiation In Accordance
               With The Relevant Standard For Dietary Supplements

       Despite the FTC’s own Guidance, which makes clear that the “competent and reliable

scientific evidence” substantiation standard for dietary supplements is “flexible,” permitting

consideration of many different types of research, Plaintiffs have taken the absurd position that the

phrase “dietary supplement” has no legal meaning or application in this case. (CSOF ¶¶ 11, 80,

109.) Rather, Plaintiffs ask this Court to adopt a new, heightened drug-level RCT requirement that

is plainly inconsistent with the flexible standard set forth in the FTC Guidance. (SOF ¶¶ 67—73;

Graham Decl. Ex. F, FTC Guidance at 9-18). This demand by the FTC for a heightened

requirement has been rejected by other Courts. (Mot. at 20—23) (discussing FTC v. Garden of

Life, Inc., 516 Fed. App’x 852, 854-58 (11th Cir. 2013); United States v. Bayer Corp., No. 07-01,

2015 WL 5822595, at *3-4 (D.N.J. Sept. 24, 2015); Basic Rsch., LLC v. FTC, No. 2:09-cv-0779,

2014 WL 12596497, at *9-11 (D. Utah Nov. 25, 2014)).)

       In recognition of this deficiency, Plaintiffs now attempt an about-face, admitting (finally)

that the “competent and reliable scientific evidence” standard set forth in the FTC Guidance is the

controlling standard. (CSOF ¶¶ 1, 59—63, 147; Opp. at 10, 12—15.) This admission alone is


                                                 8
           Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 17 of 51




sufficient to award summary judgment to Defendants on all counts because there is no dispute that

Plaintiffs’ experts failed to consider the FTC Guidance and the “competent and reliable scientific

evidence” standard in forming their opinions. Their opinions, therefore, do not reflect a review of

the evidence in accordance with the relevant standard. (CSOF ¶¶ 59—73, 122—130.)3 See Virgin

Atlantic Airways Ltd. v. British Airways PLC, 69 F. Supp. 2d 571, 579 (S.D.N.Y. 1999), aff’d, 257

F.3d 256 (2d Cir. 2001) (“expert testimony without . . . a factual foundation cannot defeat a motion

for summary judgment.”); Basic Rsch., 2014 WL 12596497, at *10 (awarding summary judgment

where the FTC’s expert applied the incorrect standard with respect to dietary supplement

substantiation).

          B.      The Challenged Claims Are Substantiated Structure/Function Claims Under
                  The FTC Guidance, Which Does Not Require The Drug Level RCT Advanced
                  By Plaintiffs

                  1.       Plaintiffs’ Drug-Level RCT Requirement Is Not In the FTC Guidance

          Plaintiffs now argue that a drug-level RCT requirement is consistent with the FTC

Guidance to substantiate structure/function claims. (Opp. at 6—15.) They are wrong. Confronted

with the sound reasoning in Bayer, Basic Research, and Garden of Life—all cases that rejected

prior attempts by the FTC to hold dietary supplement manufacturers to a higher substantiation

standard for structure/function claims—Plaintiffs limit their attempt at distinguishing these cases

to a single-statement: that they are “inapposite” because they involved issues regarding whether

those “defendants violated a specific provision of a prior court order that did not expressly mention

RCTs.4” (Opp. at 11) (emphasis added.) Plaintiffs’ dismissal of the three most salient decisions




3
  These facts are either uncontested (CSOF ¶¶ 59—64, 70), “contested” but unsupported by evidence that actually
refutes Defendants’ proffered fact (CSOF ¶¶ 65—69, 71—73, 122—123, 130), or “contested” and objected to as
immaterial (CSOF ¶¶ 124-129). They should all be deemed admitted.
4
    Basic Research was decided on summary judgment.



                                                      9
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 18 of 51




on the proper application of the “competent and reliable scientific evidence” standard as to

structure/function claims for dietary supplement products should not go unnoticed for at least four

separate reasons.

       First, the definition of “competent and reliable scientific evidence” at issue in Bayer, Basic

Research, and Garden of Life is the exact same definition set forth in the FTC Guidance. See

Bayer, 2015 WL 5822595, at *3 (consent decree at issue defining “competent and reliable

scientific evidence” in the same manner as defined in the FTC Guidance); Basic Rsch., 2014 WL

12596497, at *9 (Decision and Order at issue defining “competent and reliable scientific evidence”

in the same manner as the FTC Guidance); Garden of Life, 516 Fed. App’x at 854 (order at issue

defining “competent and reliable scientific evidence” in the same manner as the FTC Guidance).

       Second, Bayer, Basic Research, and Garden of Life all reviewed and analyzed what

“competent and reliable scientific evidence” means specifically in the context of structure/function

claims for dietary supplement products. Each of these courts determined that the FTC Guidance

does not require RCTs at all, let alone the heightened drug-level RCT Plaintiffs argue should be

applied in this action. See Bayer, 2015 WL 5822595 at *3-4, *14-19 (observing that the FTC

Guidance “makes clear” the substantiation standard for dietary supplements “is not the drug

standard;” that “[r]andomized clinical trials are not required” and rejecting the FTC’s attempt to

impose a “higher-level” of substantiation than required by the FTC Guidance); Basic Rsch., 2014

WL 12596497, at *10-11 (rejecting the FTC’s heightened standard and awarding summary

judgment because the “FTC failed to apply the correct standard” when evaluating dietary

supplement substantiation); Garden of Life, 516 Fed. App’x at 856 (rejecting the FTC’s attempt to

“require the Court to read additional requirements into” the competent and reliable scientific

evidence standard.)




                                                10
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 19 of 51




       Third, Plaintiffs are correct in both of their assertions that the orders at issue in Bayer,

Basic Research, and Garden of Life did not “expressly mention RCTs” and that this “Court is not

being asked to interpret a prior order.” (Opp. at 11.) That is exactly the point. There is no prior

administrative order or consent decree at issue in this action that would define “competent and

reliable scientific evidence” in a manner differently than how it is defined in the FTC Guidance.

Nowhere in the FTC Guidance is an RCT required, let alone a drug level RCT. (Graham Decl.

Ex. F, FTC Guidance at 9—18.) This Court should reject Plaintiffs’ attempt to hold Defendants

to a higher substantiation standard that is not articulated anywhere except in Plaintiffs’ discovery

responses and their Opposition brief in this Action. That is exactly what the courts in Bayer, Basic

Research and Garden of Life did when faced with this issue.

       Fourth, Plaintiffs’ Opposition ignores that Basic Research granted summary judgment in

favor of the defendant because the FTC’s expert, as here, failed to apply the correct competent and

reliable scientific evidence standard. 2014 WL 12596497, at *10-11. Indeed, the court noted that

“the FTC must do more than present an expert who simply disagrees with the scientific literature

upon which [the defendant] relied. The FTC must present evidence that shows how” such research

does not comply with the competent and reliable scientific evidence standard. Id. at *10. Here,

Plaintiffs cannot show that Defendants did not comply with the FTC Guidance; indeed, none of

Plaintiffs’ experts reviewed or were even aware of the FTC Guidance or the “competent and

reliable scientific evidence” standard as it applies to dietary supplement structure/function claims

when they rendered their opinions in this case. (CSOF ¶¶ 124—130.) While Plaintiffs contend

that their expert, Dr. Sano, “determined that evidence from an RCT is required to establish the

efficacy of Prevagen for memory and other cognitive benefits in humans” (Opp. at 10), Dr. Sano

testified that she was not at all familiar with the FTC Guidance and was also unfamiliar with the




                                                11
           Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 20 of 51




“competent and reliable scientific evidence” standard that applies to dietary supplements; and she

did not offer any opinion (nor could she) with respect to any aspect of Prevagen’s marketing.

(CSOF ¶¶ 126, 129, 131, 135.) Her opinion, therefore, is at best irrelevant and at worst

devastatingly unreliable in that it is not tethered to the issues central to this action (in addition to

being premised upon faulty hypotheticals).

                   2.       Defendants Possess Substantiation For Any “Clinically Shown” Claim

           Plaintiffs’ argument that a subset of the Challenged Claims (those that assert that Prevagen

is “clinically shown” to have a beneficial effect) requires a drug-level RCT also misses the mark.

(Opp. at 6—9.) Plaintiffs argue, without any record evidence, that the “net impression” of this

subset of advertisements “clearly communicated to consumers that Prevagen’s benefits were

supported by clinical evidence, specifically an RCT.” (Opp. at 8) (emphasis added.) But Plaintiffs

offer no evidence of any consumer’s perception to establish what was “clearly communicated” to

consumers or the “net impression” of any advertisement on a consumer. It is pure ipse dixit. None

of Plaintiffs’ experts are experts in consumer perception, and none of them even reviewed any

marketing for Prevagen. (CSOF ¶¶ 131—136.)5 Plaintiffs simply do not (and cannot) point to any

evidence suggesting that consumers interpret the phrase “clinically shown” as suggesting that the

claims are established through a drug-level (or higher) RCT. Id. In fact, Plaintiffs themselves

have asserted that the term “clinical” is “vague and ambiguous.” (CSOF ¶ 89.)6 Accordingly,

Plaintiffs’ own cited authority establish that they should have, but did not, obtain evidence

concerning how consumers perceive this subset of Challenged Claims. See FTC v. Alcoholism




5
 While Plaintiffs purported to “contest” these facts, their responses concede that their experts did not review any of
Prevagen’s marketing material, and that their experts did not offer any opinion on consumers’ impression of the
Challenged Claims. (CSOF ¶¶ 131—136.)
6
    Elsewhere, Plaintiffs also claim that “RCT” is vague and ambiguous. (CSOF ¶ 118.)



                                                         12
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 21 of 51




Cure Corp. No. 3:10-cv-266-34JBT, 2011 WL 13137951, at *25 (M.D. Fla. Sept. 16, 2011) (“if

an advertisement implies a claim, the court need not conclude that the advertisement makes such

a representation without evidence of consumer perception”); FTC v. Nat’l Urological Group, Inc.,

645 F. Supp. 2d 1167, 1189 (N.D. Ga. 2008) (“In this case, the FTC has not presented any evidence

of what claims consumers perceived the advertisements to make; accordingly, any claims that the

FTC contends that the advertisements make must be clear and conspicuous from the face of the

advertisements”). To the extent Plaintiffs intend to argue the relevance of consumer perception in

connection with the Challenged Claims, their lack of evidence on this issue, despite lengthy and

extensive discovery, should be fatal to this argument.

       In any event, as this Court has previously found and as Plaintiffs admit in their Complaint

(Compl. ¶ 28), Quincy did conduct an RCT—the Madison Memory Study—a study that

substantiates all of the Challenged Claims in accordance with the FTC Guidance, including any

with the words “clinically shown.” FTC v. Quincy Bioscience Holding Company, Inc., 272 F.

Supp. 3d 547, 553 (S.D.N.Y. 2017) (“It is common ground that the Madison Memory Study

followed normal, well-accepted procedures, conducted a ‘gold standard’ double blind, placebo

controlled human clinical study using objective outcome measures of human cognitive function”).

This Court further found that the Madison Memory Study showed a “statistically significant

difference between the groups in the AD 0-1 and AD 0-2 subgroups.” Id. In addition to the

Madison Memory Study, Quincy also possesses other significant “clinical,” animal, and in vitro

evidence, all of which substantiates the advertising for the Challenged Claims.




                                                13
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 22 of 51




                  3.       Plaintiffs’ Cases Are Inapposite Because They Analyze Substantiation
                           For Disease Claims Rather Than Structure/Function Claims

         The cases Plaintiffs cite do nothing to bolster their argument that Quincy lacks adequate

substantiation for the Challenged Claims because those cases analyze whether dietary supplement

disease claims are adequately substantiated.

         For example, in Pom Wonderful, LLC v. FTC, the defendant marketed various disease

claims, including that its fruit juice could “treat, prevent, or reduce the risk of . . . heart disease,

prostate cancer, and erectile dysfunction,” help prevent “heart disease, stroke, Alzheimer’s, even

cancer,” could lead to “improved blood flow to the heart,” a “decrease in arterial plaque,” and

could “lower[] blood pressure in patients with hypertension.” 777 F.3d 478, 483, 493-94 (D.C.

Cir. 2015). In contrast, here, Plaintiffs do not allege in their Complaint or argue in their Opposition

that Defendants made any disease claims that warrant the higher substantiation standard applied

in Pom Wonderful.7 Rather, the record is clear that Quincy made “structure/function” claims8 that

are subject to the less stringent, and flexible substantiation standard set forth in the Guidance.

         Moreover, despite Pom Wonderful’s history of making deceptive disease marketing

statements, the court in Pom Wonderful rejected the FTC’s attempt to mandate “two RCTs as an

across-the-board requirement for any disease claim.” Id. at 502. The Court found that “[i]f there




7
  In their Counterstatement of Facts, Plaintiffs cite to a 2012 warning letter that the FDA issued to Mark Underwood
as President of Quincy Bioscience Manufacturing, Inc. alleging that Prevagen Products were being promoted for
conditions that caused these products to be drugs under the FDCA. (CSOF ¶¶ 11, 16, 109.) This is entirely inconsistent
with the position taken in Plaintiffs’ Opposition that FDA laws and regulations are inapplicable to this action. (Opp.
at 17.) In any event, the allegations contained in the warning letter are just that—allegations. They have never been
proven nor have they been the subject of any FDA enforcement activity. In fact, in 2018, the FDA issued a letter
closing the matter. Plaintiffs admitted they were not even aware of the closing letter until years into this litigation.
(Graham Decl. Ex. EE at Response 100; Graham Reply Decl. Ex. QQ.)
8
  Structure/Function claims describe the role of a nutrient or ingredient intended to affect the structure or function in
in humans, provided such claims are not disease claims. (Graham Decl. Ex. J at 2.) Such claims are not subject to
FDA pre-authorization and a marketer’s ability to make structure/function claims “is fully consistent with the FTC’s
standard that advertising claims be truthful, not misleading and substantiated.” (Graham Decl. Ex. F at n.3.)



                                                          14
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 23 of 51




is a categorical bar against claims about the disease-related benefits of a food product or dietary

supplement in the absence of two RCTs, consumers may be denied useful, truthful information

about products with a demonstrated capacity to treat or prevent serious disease.” Id. The court

further noted that in most cases “over the past decade,” the FTC has required only “competent and

reliable scientific evidence,” not necessarily RCTs, “let alone two RCTs, to substantiate disease

claims akin to those made by petitioners.” Id. at 504.

       Further, Nat’l Urological Grp., Inc., confirms that the FTC Guidance is the appropriate

standard for dietary supplement manufacturers to follow regarding substantiation of their

marketing claims. 645 F. Supp. 2d at186-87 (N.D. Ga. 2008) (noting that the FTC’s “[c]ompetent

and reliable scientific evidence” standard has been defined in “guidelines promulgated by the

FTC” and discussing FTC Guidance). In that case, the court held that “[t]he fact that different

scientific evidence is required from different claims impacting different products does not mean

that the FTC can enforce its act arbitrarily; instead it simply means that different claims require

different substantiation.” Id. at 1187. Here, where the FTC Guidance controls, Plaintiffs must

abide by the instructions set forth therein.

       Other cases Plaintiffs cite involve inapposite scenarios where the defendant disseminated

disease claims with little to no supporting substantiation. For example, in FTC v. Coorga

Nutraceuticals, cited throughout Plaintiffs’ Opposition, the defendants advertised a purported

“cure” to reverse the graying of hair, but had no medical or scientific support for the claims,

warranting summary judgment for the FTC. 201 F. Supp. 3d 1300, 1314 (D. Wyo. 2016).

Similarly, in FTC v. Roca Labs, Inc., at the time of dissemination, the defendants had no scientific

studies at all to support the claim that a weight-loss product was “scientifically proven to have a

ninety-percent success rate in forcing users to eat half their usual food intake and cause substantial




                                                 15
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 24 of 51




weight loss[.]” 345 F. Supp. 3d 1375, 1388 (M.D. Fla. 2018). The court did not find that the lack

of an RCT was dispositive, but rather, was “one piece of evidence,” where the defendants “failed

to produce any competent and reliable scientific evidence to substantiate their claims.” Id. at 1387

(emphasis added). See also FTC v. NPB Advert., Inc., 218 F. Supp. 3d 1352, 1357-60 (M.D. Fla.

2016) (the defendants relied upon a single study with a sample size of sixteen people that was

withdrawn by the author shortly after publication to support a claim that a green-coffee extract

product could lead to “losing twenty pounds in four weeks”); Alcoholism Cure Corp., 2011 WL

13137951, at *1, 39) (finding that marketing claims to permanently cure alcoholism were not

adequately substantiated by two articles that did not even reference the supplement products being

promoted). Those cases are simply irrelevant here given that Defendants have produced a

substantial corpus of scientific evidence to support the Challenged Claims—evidence that is

consistent with the FTC Guidance and acceptable to Defendants’ experts in various scientific fields

including internal medicine, nutrition, neuroscience, dietary supplement substantiation,

epidemiology and biostatistics. The fact that Plaintiffs do not like that evidence is insufficient to

create a triable issue of fact.

        Finally, Plaintiffs’ citation to Daniel Chapter One v. FTC is also irrelevant. In that case,

the defendant sought judicial review of an FTC cease and desist order and argued it was exempt

from FTC regulation due to its “formal legal status as a religious ‘corporation sole’ under

Washington law.” 405 Fed. App’x 505, 506 (D.C. Cir. 2010). Without addressing the substance

of the defendant’s advertisements or claims, the court held the FTC properly exercised its

jurisdiction and did not exceed its statutory authority by issuing an order to cease and desist certain

practices. Id. That case has no bearing on Plaintiffs’ claims in this Action.




                                                  16
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 25 of 51




        C.       Plaintiffs’ “Contested” Facts Are Based On Unsupported Assumptions
                 Contradicted By The Evidence

        Plaintiffs admit on the first page of their Opposition that Defendants conducted an RCT—

the Madison Memory Study. (Opp. at 1.) Thus, contrary to Plaintiffs’ contention, the parties’

disagreement over whether an RCT is required does not create a genuine issue of fact precluding

summary judgment. (Id. at 19—21.) And while Plaintiffs contend that the Madison Memory

Study was “flawed,” the so-called flaws relating to the conduct, design and implementation of the

Madison Memory Study are supported only by Plaintiffs’ experts’ assumptions and speculation9,

and are contradicted by the actual evidence in the record.

        In this Circuit (and elsewhere), “expert testimony without . . . a factual foundation cannot

defeat a motion for summary judgment.” Virgin Atlantic Airways Ltd. v. British Airways PLC, 69

F. Supp. 2d 571, 579 (S.D.N.Y. 1999), aff’d 257 F.3d 256 (2d Cir. 2001) (internal citations

omitted). As this Court and courts around the country have long held, “the use of unreliable and

unfounded expert testimony . . . is insufficient to defeat” a defendant’s summary judgment motion,

including where an expert provides “no supporting facts to sustain” his or her conclusions.

Cummiskey v. Chandris, S.A., 719 F. Supp. 1183, 1190 (S.D.N.Y. 1989), aff’d 895 F.2d 107 (2d

Cir. 1990); see also Standish v. Jackson Hole Mountain Resort Corp., 997 F.3d 1095, 1106 n.8

(10th Cir. 2021) (“the mere existence of a contrary expert opinion—particularly a conclusory

expert opinion—does not preclude summary judgment”); Evers v. Gen. Motors Corp., 770 F.2d

984, 986 (11th Cir. 1985) (“a party may not avoid summary judgment solely on the basis of an

expert’s opinion that fails to provide specific facts from the record to support its conclusory

allegations”); New York State Ophthalmological Soc. v. Bowen, 854 F.2d 1379, 1391 (D.C. Cir.



9
 None of Plaintiffs’ experts have conducted any research on Prevagen or apoaequorin. (CSOF ¶ 94) (Plaintiffs
objected and offered legal argument in response to this fact, but offered no refuting evidence.)



                                                       17
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 26 of 51




1988) (same); Rardon v. Holland, 279 F. Supp. 3d 93, 97 (D.D.C. 2017) (“a party cannot create a

fact issue to avoid summary judgment by offering an expert opinion that is not supported by a

proper foundation”); Basic Rsch., 2014 WL 12596497, at *10 (granting summary judgment where

expert applied the incorrect standard with respect to dietary supplement).

         That is exactly what Plaintiffs attempt to do here, and their efforts to conjure up non-

existent disputed issues of fact through unsupported expert opinion should be rejected.

                  1.       There Are No Genuine Issues of Fact Regarding the Design of the
                           Madison Memory Study

         Plaintiffs argue that the parties’ experts disagree over certain aspects of the Madison

Memory Study’s design, including the number of participants enrolled in the Madison Memory

Study, whether Defendants administered the AD 8 screening tool in a reliable manner, and whether

participants were stratified by AD 8 score before or after randomization. (Opp. at 22.) Even

assuming these disputes exist, Plaintiffs have failed to explain why these disagreements are

material. They are not.

                  2.       There Are No Genuine Issues of Fact Regarding the Blinding of the
                           Madison Memory Study

         Plaintiffs next argue that they disagree with Defendants’ contention that the Madison

Memory Study was double-blinded because two interim analyses were conducted prior to the

study’s completion and because study participants were informed of their group assignment after

completing the study.         (Opp. at 22; Pl. Add’l SOF10 ¶ 25.)                These are simply Plaintiffs’

assumptions, and neither is supported by the record. As to the first, Dr. Wittes opined that the

existence of two interim analyses means that the Madison Memory Study was not blinded. (Pl.



10
   Citations to Pl. Add’l SOF are to Plaintiffs’ Statement of Additional Material Facts in Dispute, beginning at page
69 of Plaintiffs’ Response to Defendants’ Rule 56.1 Statement and Plaintiffs’ Statement of Additional Material Facts
in Dispute, Dkt. 256.



                                                         18
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 27 of 51




Add’l SOF ¶ 25; Graham Reply Decl. Ex. RR, Wittes Tr. 132:17—133:13.) But Dr. Wittes later

admitted at her deposition that it is possible to conduct an interim analysis without breaking the

blind. (Graham Reply Dec. Ex. RR, Wittes Tr. 134:4-22, 138:13-24.)

       As to the second, while Dr. Sano opined that the un-blinding of one participant led to the

un-blinding of others in the same “block” of participants (Pl. Add’l SOF ¶ 25), she backed away

from this opinion at her deposition and admitted that she was unaware of (1) any participant

learning the assignment of another participant; (2) any participant learning of their own assignment

prior to completing the study; or (3) any proctor learning which group any participant was in before

that participant completed the study. (Graham Reply Decl. Ex. SS, Sano Tr. 88:11—89:1, 103:2-

10; see also Graham Reply Decl. Ex. RR, Wittes Tr. 131:17—132:16.) Dr. Sano further admitted

that she may have “assumed” that the randomization was conducted in blocks, which was what

informed her original opinion that the study was inadequately blinded. (Graham Reply Decl. Ex.

SS, Sano Tr. 111:5—114:6; see also 93:15-18 (testifying that she was not able to make a

determination as to whether the blinding in the Madison Memory Study was adequate).)

       Dr. Wittes’ and Dr. Sano’s unsupported assumptions about the blinding of the Madison

Memory Study are not grounded in the record evidence and do not qualify as disputes of fact which

preclude summary judgment.

               3.      There Are No Genuine Issues of Fact Regarding the Intended
                       Population of the Madison Memory Study

       Quincy’s President (Mark Underwood) and the Madison Memory Study’s Principal

Investigator (Kenneth Lerner) both testified that individuals with AD 8 scores between 0 and 2

(i.e., normal, healthy older adults) were the target population for the Madison Memory Study and

that Defendants decided to analyze the Madison Memory Study data based on AD8 scores before

the study commenced. (SOF ¶¶ 100, 107.) Plaintiffs do not offer any evidence to dispute these



                                                19
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 28 of 51




facts, and instead argue that their experts “reviewed the study’s protocol and concluded that the

intended study population consists of the over 200 adults who completed the study.” (CSOF ¶¶

100, 107.) The assumptions and conclusions of Plaintiffs’ experts from reading the study’s

protocol are insufficient to rebut Mr. Underwood and Mr. Lerner’s undisputed testimony,

especially since it is corroborated by the undisputed facts that: (1) AD8 scores between 0 and 2

are “generally considered reflective of normal aging or ‘very mild’ cognitive impairment—i.e.

healthy, older adults” (CSOF ¶ 99); and (2) the protocol for the Madison Memory Study listed a

planned sample size of 100 participants, and the study included 100 participants who reported AD8

scores between 0 and 2 (CSOF ¶¶ 103—104).

               4.      There Are No Genuine Issues of Fact Regarding the Subgroups
                       Analyzed as Part of the Madison Memory Study

       Plaintiffs also contend that the planned AD 8 0-1 and 0-2 subgroup analyses were “not pre-

specified” and “would be considered post hoc statistical analyses that cannot support conclusions

about a product’s efficacy.” (Opp. at 24.) But, even assuming that a “post hoc” analysis is

somehow per se invalid (it is not, as Defendants’ experts made clear), as discussed in the preceding

section, Plaintiffs cite no evidence to support their theory that the analyses were not pre-specified

and the record evidence makes clear those groups were the intended analyses from the outset of

the Madison Memory Study. (CSOF ¶¶ 99, 100, 103—104, 107.)

       Plaintiffs also failed to amass evidence supporting their theory that the AD 8 0-1 and 0-2

subgroup analyses were, in fact, “post hoc.” It is undisputed that a “post hoc” analysis is one that

is conducted “after whoever is doing the analysis looks at the data.” (CSOF ¶ 140.) But Dr. Sano

and Dr. Wittes both admitted at their depositions that they did not know when or in what order the




                                                 20
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 29 of 51




0-1 and 0-2 analyses were planned or conducted. (CSOF ¶¶ 14111—14212.) Thus, even assuming

the Parties’ experts disagree over the propriety of post hoc subgroup analyses (CSOF ¶ 143),

Plaintiffs have failed to raise a question of fact as to whether the 0-1 and 0-2 subgroup analyses

were, in fact, post hoc and therefore the alleged disagreement is immaterial and does not preclude

summary judgment.             Despite several years of litigation including intensive fact and expert

discovery, as this Court previously found, Plaintiffs’ challenge “never proceeds beyond the

theoretical.” Quincy Bioscience, 272 F. Supp. 3d at 553 (citing FTC v. LeadClick Media, LLC,

838 F.3d 158, 168 (2d Cir. 2016)).

                    5.       There Are No Genuine Issues of Fact Regarding Whether the Results
                             of the Madison Memory Study are “Statistically Significant”

           Plaintiffs and their experts (Drs. Sano and Wittes) argue that research results must be

“statistically significant” in order to constitute competent and reliable scientific evidence (they

were). (Opp. at 25—26.) But this is not the prevailing view of experts in the field of biostatistics.

Indeed, Defendants’ biostatistics expert, Dr. Wei, demonstrated that this outdated and arbitrary

approach has been strongly criticized by experts in the field of statistics and by the preeminent

American Statistical Association (“ASA”) (of which Dr. Wittes is a member). (Graham Decl. Ex.

Z, Wei Report ¶¶ 20-22 and Appendix C; Graham Reply Decl. Ex. RR, Wittes Tr. at 146:19-22.)

As the ASA advises, “[s]cientific conclusions and business or policy decisions should not be based

only on whether a p-value passes a specific threshold.” (Graham Decl. Ex. Z, Wei Report ¶¶ 20—

22 and Appendix C.) Contrary to Plaintiffs’ characterization of Dr. Wittes’ report, she testified at

her deposition that, “in general,” she actually “agree[s] [] with the sentiments expressed in that



11
     Plaintiffs’ response to SOF ¶ 141 is consistent with Defendants’ proffered fact and should be deemed admitted.
12
  Because Dr. Wittes’ admissions at her deposition undermined this paragraph of her report (SOF ¶ 142), Defendants’
proffered fact should be deemed admitted.



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 30 of 51




paper.” (Graham Reply Decl. Ex. RR, Wittes Tr. 146:23—147:9.) Thus, to the extent Plaintiffs’

experts disagree at all with Dr. Wei and the ASA, that disagreement fails to raise an issue of fact

given that the FTC Guidance looks to experts in the relevant field, which the ASA undoubtedly

is.13

         In any event, the purported disagreement is immaterial because the Madison Memory

Study did report statistically significant results (using the p-value of 0.05 proffered by Plaintiffs’

own experts) for participants scoring between a 0 and 2 on the AD 8 scale. (SOF ¶¶ 109—111.)

Participants in the 0-1 subgroup reportedly experienced statistically significant improvement as

compared to the placebo group on three Cogstate tasks (GMR, DET, and OCL) and outperformed

the placebo group on four additional tasks. (SOF ¶ 111.) Similarly, participants in the 0-2

subgroup reportedly experienced statistically significant improvement as compared to the placebo

group on three Cogstate tasks (GML, OCL, and IDN). (SOF ¶ 110.) Moreover, the placebo group

did not show any statistically significant improvement as compared to the treatment group on any

of the Cogstate tasks in the AD8 0-1 or 0-2 subgroups. (SOF ¶ 112.)

         Plaintiffs do not contest these results, but instead argue that they are not truly “statistically

significant” because the subgroup analyses were post hoc and therefore required a statistical

correction. But, as discussed in the preceding section, there is no basis in the record for Plaintiffs’

experts’ assumptions that these analyses were post hoc, and therefore no basis to require any

statistical correction. (CSOF ¶¶ 109—112.)




13
  Plaintiffs also admit that they have not issued any regulation or guidance requiring statistical significance in the
entire study population to constitute adequate substantiation. (CSOF ¶ 78.)



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 31 of 51




                  6.        There Are No Genuine Issues of Fact Regarding Whether the Madison
                            Memory Study Results are “Clinically Meaningful”

         Finally, Plaintiffs argue that the Parties disagree over whether the Madison Memory

Study’s results are clinically meaningful. (Opp. at 26.) While Dr. Sano opined in her report that

they are not (Pl. Add’l SOF ¶ 43), she subsequently admitted at her deposition that she believed it

was “questionable” whether the results of just one of the Cogstate tests was clinically meaningful,

was “not sure” that she “evaluated them all to that degree” and was “not prepared to say one way

or the other” whether the remaining positive results were clinically meaningful. (Graham Reply

Decl. Ex. SS, Sano Tr. 138:16—140:17.) Dr. Sano’s equivocal testimony therefore does not raise

a genuine issue of fact precluding summary judgment.14

                  7.        There Are No Genuine Issues of Fact Regarding the Remainder of
                            Defendants’ Substantiation

         The Madison Memory Study, by itself, is sufficient to substantiate the Challenged Claims.

Thus, any purported disputed issues of fact with respect to Defendants’ animal, in vitro, open label

or vitamin D studies have no legal relevance and cannot preclude summary judgment. But even if

they were relevant, Plaintiffs’ expert’s opinions as to these additional studies are unsupported by

the evidence.

         The FTC Guidance expressly provides that animal, in vitro and open label research will be

considered under the FTC’s “totality of the evidence” approach. Plaintiffs’ expert, Dr. Sano,

however, dismissed this research out of hand, opining that (1) placebo-controlled “[t]esting on

humans is necessary,” (2) results from animal studies “cannot be directly extrapolated from an


14
  In a desperate attempt to create issues of fact, Plaintiffs even contest whether or not certain results from the Madison
Memory Study were published in a peer-reviewed journal. (CSOF ¶ 115.) Their response that this fact “misstates the
quality of the Advances in Mind Body Medicine journal” is non-responsive and fails to raise an issue of fact. Even if
Plaintiffs are correct that the journal has a “low impact factor,” which Plaintiffs contend “suggest[s] it does not have
a strong reputation among scientists,” that does not refute the proffered fact that the article was published in a peer-
reviewed journal, which strengthens its reliability under the FTC Guidance. (Graham Decl. Ex. F, Guidance at 12.)



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        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 32 of 51




animal model to humans,” and (3) in vitro studies “are not necessarily predictive of what will

happen in the human body and are not adequate evidence of efficacy absent confirmation in human

studies.” (Graham Decl. Ex. T, Sano Report ¶¶ 29, 41.) She specifically declined to report on

these studies “because they are not considered sufficient competent and reliable scientific evidence

of an effect in humans.” (Graham Decl. Ex. T, Sano Report ¶ 42.) And while Dr. Sano conducted

a cursory review of this material in her rebuttal report (Soberats Decl. Ex. B, Sano Rebuttal Report

¶¶ 3, 14—19), she admitted at her deposition that she had not “considered whether the animal

studies performed by Quincy would be relevant to making a determination of Prevagen’s efficacy

in humans,” that she was “not commenting on the animal studies,” that she did not “place any

weight” on animal studies in determining efficacy in humans,” and that open-label studies in

humans are not relevant to efficacy determinations. (Graham Reply Decl. Ex. SS, Sano Tr.

78:23—79:6; 81:8-18, 83:5—84:6.) In short, Dr. Sano’s opinions are directly contrary to the

FTC’s own Guidance, and she failed to consider the scientific evidence that Quincy developed—

even though that evidence is clearly allowed under the FTC Guidance. This is compounded by

the fact that Dr. Sano was entirely unfamiliar with the FTC Guidance and the relevant “competent

and reliable scientific evidence” standard. Dr. Sano’s opinion fails to raise a genuine issue of fact.

       Plaintiffs cite FTC v. SlimAmerica, Inc. and Western Sugar Coop. v. Archer-Daniels-

Midland Co. (Opp. at 27) for the unremarkable proposition that animal and in vitro studies,

standing alone, are insufficient to substantiate marketing claims. These cases are inapposite for at

least two reasons. First, Quincy is not relying solely on its animal and in vitro research. Rather,

those studies provide additional evidence that increases the reliability of the Madison Memory

Study. Second, Defendants’ expert Dr. Mindy Kurzer opined that Quincy’s canine studies (the

results of which were published in a peer-reviewed journal) are of particular relevance here




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       Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 33 of 51




because cognitive dysfunction in dogs is thought to provide a natural animal model for cognitive

dysfunction in humans. (SOF ¶ 88.) Dr. Sano, who purports to be an expert in cognition, had no

basis to dispute this opinion from Dr. Kurzer and admitted that she did not even recall reviewing

the references that Dr. Kurzer cited in support of her opinion. (Graham Reply Dec. Ex. SS, Sano

Tr. 77:13—78:3.) Thus, unlike in SlimAmerica and Western Sugar, where the courts questioned

the extrapolation of animal studies to humans, Defendants have offered—and Plaintiffs failed to

rebut—evidence supporting such a conclusion in this case.

       In short, speculative legal argument and uninformed expert opinion untethered to the

factual record is insufficient to defeat Defendants’ summary judgment motion, particularly where

none of Plaintiffs’ experts formed their opinions using the governing “competent and reliable

scientific evidence” standard as set forth in the FTC Guidance.

       D.      Plaintiffs Failed To Provide Any Evidence That The Challenged Claims Are
               Likely To Mislead Consumers

       Defendants’ Motion established that Plaintiffs have failed to elicit any evidence that the

Challenged Claims are likely to mislead consumers. (Mot. at 31.) In response, Plaintiffs argue

that the “net impression Defendants conveyed to consumers was that their memory and cognitive

function claims were supported by an RCT,” but that the RCT was “flawed” and cannot support

Quincy’s marketing claims. (Opp. at 2.) Plaintiffs further argue that the advertising disclaimer

agreed to as part of the Collins Settlement (the “Qualifier”) “fails to alter the deceptive net

impression of Defendants’ ads.” (Opp. at 33.) Despite numerous opportunities, Plaintiffs have

failed to offer any evidence to support these arguments.

       It is undisputed that Quincy conducted an RCT (Opp. at 1; Compl. ¶ 28) and so the alleged

“clinically shown” advertising claims cannot be literally false. Moreover, “where the language of

an advertisement is ‘susceptible to more than one reasonable interpretation, the advertisement



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        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 34 of 51




cannot be literally false.’” Stokely-Van Camp, Inc. v. Coca-Cola Co., 646 F. Supp. 2d 510, 525

(S.D.N.Y. 2009).      In the context of a consumer fraud claim, differing scientific opinions

necessarily mean that an advertising claim cannot be misleading. See In re GNC Corp., 789 F.3d

505, 515 (4th Cir. 2015) (“In sum, we hold that in order to state a false advertising claim on a

theory that representations have been proven to be false, plaintiffs must allege that all reasonable

experts in the field agree that the representations are false. If plaintiffs cannot do so because the

scientific evidence is equivocal, they have failed to plead that the representations based on this

disputed scientific evidence are false.”). And where an advertisement is not literally false, a private

plaintiff “may bring an implied claim on the ground that the advertisement although literally true

is nonetheless misleading, but [they] must offer consumer data or other extrinsic evidence to show

that the audience to which the advertisement is directed is in fact misled by the advertisement.”

Stokely-Van Camp, Inc., 646 F. Supp. 2d at 525. Id. As discussed above, the FTC’s own cases

demonstrate that they should have set forth consumer perception evidence if they wanted to

establish their theory of what “clinically shown” means is the prevailing theory. See Alcoholism

Cure Corp, 2011 WL 13137951, at *25; Nat’l Urological Group, Inc., 645 F. Supp. 2d at 1189.

They did not do so.

       The same rationale applies here. In fact, Plaintiffs assert that the term “clinical” is “vague

and ambiguous” (CSOF ¶ 89), triggering their obligation to provide evidence of how consumers

interpreted this vague and ambiguous term. Moreover, Plaintiffs were on notice that the Court

considered this to be a significant issue when it originally dismissed Plaintiffs’ Complaint nearly

five years ago. “Thus, the complaint fails to show that reliance upon the subgroup data ‘is likely

to mislead consumers acting reasonably under the circumstances,’ as is necessary to state its

claim.” Quincy Bioscience, 272 F. Supp. 3d at 553 (citing FTC v. LeadClick Media, LLC, 838




                                                  26
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 35 of 51




F.3d 158, 168 (2d Cir. 2016)). Plaintiffs should have known that they were required to produce

evidence of consumer perception if they intended to argue that the Challenged Claims were likely

to mislead consumers acting reasonably under the circumstances. They failed to do so, warranting

summary judgment in Defendants’ favor.

       In an attempt to side-step this requirement, Plaintiffs argue that Quincy “lack[s] a

reasonable basis” for the Challenged Claims, rendering them “deceptive as a matter of law,” and

that “Plaintiffs need not provide evidence of actual deception to establish the elements of their

case.” (Opp. at 36.) Plaintiffs’ argument misses the point. Defendants are not arguing that

Plaintiffs need to provide “evidence of actual deception,” but they were obligated to come forward

with evidence as to how consumers perceived what Plaintiffs now admit to be vague and

ambiguous advertising. In any event, the cases they cite in support are readily distinguishable.

       In FTC v. Direct Marketing Concepts, Inc., for example, the defendant made express

disease claims, arguing its products could cure “literally every disease, from cancer to Parkinson’s

to obesity.” 624 F.3d 1 (1st Cir. 2010). The court found that the defendant lacked a reasonable

basis for its marketing claims because it failed to offer any substantiation for the claim that the

products “can prevent, treat, or cure cancer, heart disease, or diabetes,” relying solely on

“extrapolations, distortions, and sometimes, seemingly, utter fabrications.” Id. at *9-11. Notably,

the court stated that “a double-blind study is not necessarily required” to substantiate the claims

that the products cure cancer. Id. at *9. Defendants, in contrast, have offered a wealth of scientific

substantiation, including the Madison Memory Study, animal studies, in vitro studies, open label

studies on apoaequorin, as well as additional research on vitamin D.

       In FTC v. Commerce Planet, Inc., the FTC actually retained an expert who reviewed the

allegedly misleading website and opined that “most users” would have been misled. 878 F. Supp.




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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 36 of 51




2d 1048, 1054 (C.D. Cal. 2012), aff'd in part, 642 Fed. App’x 680 (9th Cir. 2016), and aff'd in

part, vacated in part, remanded, 815 F.3d 593 (9th Cir. 2016). Plaintiffs here did not retain any

experts to opine on Defendants’ marketing; in fact, each of Plaintiffs’ retained experts admitted at

their depositions that they did not review a single piece of Prevagen’s marketing. (CSOF ¶ 131.)15

         And Trans World Accounts, Inc. v. FTC, is procedurally inapt, as it involved federal court

review of a decision rendered in an administrative proceeding commenced under Section 5 of the

FTC Act. 594 F.2d 212, 214 (9th Cir. 1979). In a Section 5 appeal, “[t]he scope of appellate

review of factual findings made by the FTC is narrow,” and such facts, “if supported by evidence,

shall be conclusive.’” Id. at 215.

         Plaintiffs have raised no issue of material fact on consumer perception and summary

judgment should be granted in favor of Quincy.

         E.       Plaintiffs Failed To Support Their Net Impression Argument With Any
                  Evidence

         Plaintiffs fail to offer any evidence in support of their argument that the Collins Qualifier

“fails to alter the deceptive net impression of Defendants’ ads.” (Opp. at 33—36.) In fact, they

failed to offer any evidence whatsoever regarding consumer perception of the Collins Qualifier,

despite Second Circuit precedent requiring that where, as here, a plaintiff's theory of recovery is

premised upon a claim of implied falsehood, that plaintiff “must demonstrate, by extrinsic

evidence, that the challenged [advertisements] tend to mislead or confuse consumers.” Johnson

& Johnson * Merck Consumer Pharms. Co. v. Smithkline Beecham Corp., 960 F.2d 294, 298 (2d

Cir. 1992). Plaintiffs’ failure of proof on this point warrants summary judgment in Defendants’

favor.



15
  Plaintiffs’ response to this fact contains legal argument and does not specifically refute Defendants’ assertion that
Plaintiffs’ experts did not review any marketing material for Prevagen. The fact should therefore be deemed admitted.



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 37 of 51




         In each of Plaintiffs’ cases, the FTC satisfied its burden of proof by offering extrinsic

evidence of consumer perception. In FTC v. Cyberspace.com, LLC, for example, the defendant

mailed checks to existing customers for $3.50 that were, in reality, solicitation checks for an

internet service with a monthly recurring charge. 453 F.3d 1196, 1199 (9th Cir. 2006). The back

of the check contained a “small-print disclosure[] revealing that cashing or depositing the check

would constitute agreement to pay a monthly fee for internet access, but the front of the check . . .

contained no such disclosure[].” Id. at 1198. The FTC proffered evidence of consumer perception,

including a consumer research survey demonstrating a lack of understanding of the service,

evidence that less than 1% of individuals billed for the service actually logged on to use it, and

consumer complaints, all of which supported the court’s finding that the disclaimer was

insufficient to remedy the misleading solicitation. Id. at 1198-201.

         Similarly, in Independent Directory Corp. v. FTC, the FTC proffered testimony from “a

fair number” of consumers “as to the actual deceptive effect” of the challenged solicitation

practices. 188 F.2d 468, 470 (2d Cir. 1951). See also FTC v. Med. Billers Network, Inc., 543 F.

Supp. 2d 283, 294, 306-07 (S.D.N.Y. 2008) (the FTC submitted sworn declarations from

consumers to support their net impression argument); FTC. v. Five-Star Auto Club, Inc., 97 F.

Supp. 2d 502, 519, 532 (S.D.N.Y. 2000) (the FTC offered evidence that various state agencies had

already found the defendant’s business to be a pyramid scheme, and also retained an expert witness

who testified that only a small number of consumers who participated in the multi-level marketing

scheme earned the promised “free vehicles” or otherwise earned more money than they paid to

participate in the program).16


16
   Plaintiffs’ final case, Removatron Int’l Corp. v. FTC, 884 F.2d 1489 (1st Cir. 1989), is procedurally inapposite, as
it resolved a petition for review of an FTC administrative cease and desist order. In such cases, the FTC findings
“with respect to what representations are made in advertisements are factual” and the court was required to “accept
the Commission’s findings of fact if they are supported by ‘such relevant evidence as a reasonable mind might accept


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            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 38 of 51




           Unlike in those cases, Plaintiffs have offered no expert testimony regarding consumer

perception of the Collins Qualifier, no consumer research survey, and no consumer complaints

that any consumers were misled or of any alleged deception. Indeed, here, it is undisputed that

Plaintiffs submitted no extrinsic evidence at all. (CSOF ¶¶ 132—134.)17 In fact, the only extrinsic

evidence in the record relating to the Collins Qualifier was proffered by Defendants—and it

established that a federal court has already established that the Qualifier18 is “fair, reasonable, and

adequate.” (CSOF ¶ 41.)19 In short, Plaintiffs argue that this Could should accept their view of

the Qualifier (that it is “insufficiently prominent”) based on nothing more than their own their own

say-so. This failure of proof warrants summary judgment in Quincy’s favor.20

III.       PLAINTIFFS’ ATTEMPT TO IMPOSE A HEIGHTENED SUBSTANTIATION
           STANDARD VIOLATES DUE PROCESS

           Plaintiffs’ request for a higher substantiation requirement than the one set forth in the FTC

Guidance is all the more concerning because it would retroactively impose a revised interpretation

of federal law in violation of Quincy’s due process rights. (Mot. at 31—34 (citing Christopher v.

SmithKline Beecham Corp., 567 U.S. 142, 158-59 (2012) and Upton v. SEC, 75 F.3d 92, 95 (2d

Cir. 1996)).)




as adequate to support a conclusion.’” Id. at 1496-97. This substantial level of deference accorded to the FTC is not
appropriate in district court litigation when it has the burden of proof.
17
     Plaintiffs purport to contest these facts on relevancy grounds only. They should be deemed admitted.
18
  Plaintiffs assert that Quincy is still airing a handful of ads without the Qualifier. (Opp. at 32—33.) Upon receiving
Plaintiffs’ assertions, Quincy immediately investigated the issue and found that, due to an oversight and a production
error, certain limited videos inadvertently aired without the Qualifier for a limited time period. (Olson Reply Decl. ¶¶
4-6.) Upon being notified of the oversight, it was corrected. (Id. ¶ 7.)
19
     Plaintiffs purport to contest this fact on relevancy grounds only. It should be deemed admitted.
20
  Plaintiffs’ alternative argument that the Collins Qualifier “improperly represents that Defendants’ flawed analysis
of subgroups from the Madison Memory Study supports the Challenged Claims” (Opp. at 34—35) fails for the same
reasons discussed above, namely that Plaintiffs have failed to offer any evidence that the referenced subgroup analyses
were, in fact, post hoc. (See Section II.C.3-4, supra.)



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            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 39 of 51




           In fact, the FTC Guidance—which Plaintiffs admit is intended to help marketers

understand how FTC law applies to the advertising of dietary supplements (CSOF ¶ 63)—states

that “well-controlled human clinical studies are the most reliable form of evidence.” (Graham

Decl. Ex. F, Guidance at 10 (emphasis added).) It does not state that well-controlled human

clinical studies are the only acceptable form of evidence, nor does it impose the drug-level RCT

study design and analysis that Plaintiffs require here. Rather, the FTC Guidance states that animal

and in vitro studies, which Plaintiffs and their experts rejected out of hand (see Section II.C.7,

supra), “will also be examined.” (Graham Decl. Ex. F, Guidance at 10 (emphasis added).)

Plaintiffs’ attempt to retroactively apply this heightened standard without prior notice violates Due

Process because it would “result in precisely the kind of ‘unfair surprise’ against which the

Supreme Court has long warned.” Christopher 567 U.S. at 156. This is particularly true for a

company like Quincy that spent years (and an enormous amount of money) developing

substantiation for the Challenged Claims even before it conducted the Madison Memory Study,

and has specifically reviewed, relied upon, and obtained advice from outside counsel regarding the

standard set forth in the FTC Guidance to ensure that its marketing claims for Prevagen were

adequately substantiated. (CSOF ¶¶ 74—75.)21

           Plaintiffs do not meaningfully argue otherwise. They fail to address any of Defendants’

case law (from the Supreme Court and from this Circuit) rejecting governmental efforts to impose

standards of conduct that are inconsistent with prior interpretations of applicable rules or

regulations. Instead, Plaintiffs attempt to distort the record, arguing that their expert “reviewed

the other purported substantiation, including human and animal studies, and found that none of

those additional materials supported the claims at issue.” (Opp. at 16.) But, as discussed above,


21
     Plaintiffs fail to cite any evidence to refute these proposed facts. They should be deemed admitted.



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 40 of 51




Dr. Sano did not meaningfully consider Quincy’s animal, in vitro and open label human studies;

she dismissed them outright, which is directly contradictory to the plain terms of the FTC

Guidance. (See Section II.C.7, supra.)22 Plaintiffs’ attempt to substitute Dr. Sano’s personal belief

that animal and in vitro studies are irrelevant for the flexible standard in the FTC Guidance that

mandates consideration of those same types of studies violates Quincy’s Due Process rights and

should be rejected.

IV.      PLAINTIFFS ARE NOT ENTITLED TO INJUNCTIVE RELIEF

         A.       The FTC Failed To Satisfy Section 13(b)’s Prerequisites for Permanent
                  Injunctive Relief

         In AMG Capital, the Supreme Court proposed two possible readings of Section 13(b)’s

provision for permanent injunctive relief. First, the Supreme Court stated that “the appearance of

the words ‘permanent injunction’ (as a proviso) suggests that those words are directly related to a

previously issued preliminary injunction.” AMG, 141 S. Ct. at 1348. This is the interpretation

Defendants call for here. Alternatively, the Supreme Court stated that the same statutory language

“might also be read . . . as granting authority for the Commission to go one step beyond the

provision and (‘in proper cases’) dispense with administrative proceedings to seek what the words

literally say (namely, an injunction).” Id. In posing these two, potential readings of Section 13(b),

the Supreme Court has essentially invited future litigants and courts to consider what it deemed to

be ambiguous statutory language.

         Defendants’ position is therefore far from “novel,” as Plaintiffs suggest. (Opp. at 42.) It

is what the Supreme Court specifically anticipated in AMG. And while this portion of the Supreme

Court’s opinion may be considered dicta, that does not mean it should be ignored. In fact, this


22
  Dr. Sano testified that she did not know whether the Guidance permits consideration of animal studies in determining
whether a claim is substantiated by competent and reliable scientific evidence. (Graham Reply Decl. Ex. SS, Sano
Tr. 81:19-23.)



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 41 of 51




Circuit has long held that courts should not “cavalierly disregard” Supreme Court dicta, and that

it “must be given considerable weight . . .” U.S. v. Bell, 524 F.2d 202, 206 (2d Cir. 1975); see also

Cornwell v. Credit Suisse Group, 729 F. Supp. 2d 620, 625 (S.D.N.Y. 2010). This is especially

true where, as here, the Supreme Court “is providing a construction of a statute to guide the future

conduct of inferior courts.” Bell, 524 F.2d at 206; Cornwell, 729 F. Supp. 2d at 625; DeLaurentis

v. Job Shop Technical Servs., Inc., 914 F. Supp. 57, 63 (E.D.N.Y. 1996) (stating that, in some

instances, courts have a duty to be guided by Supreme Court dicta).

        But Plaintiffs refuse to acknowledge even the possibility of the Supreme Court’s first

proposed interpretation of the “proper case” language from the AMG decision, and instead argue

that a “proper case” is one in which the FTC shows that the challenged conduct is ongoing or likely

to recur. (Opp. at 43.) But this interpretation would render the “proper cases” proviso completely

superfluous in contravention of Supreme Court guidance. See Duncan v. Walker, 533 U.S. 167,

174 (2001) (courts should “give effect, if possible, to every clause and word of a statute”).23

Congress chose to include that language and it should not be ignored.

        Instead of confronting this language, Plaintiffs argue that every post-AMG court to consider

this issue has ruled in favor of the FTC. Be that as it may, it is this Court’s duty to read and apply

the statute as written. Indeed, for decades prior to the Circuit-split that led to the AMG decision,

Courts of Appeal and District Courts across the country almost uniformly held that the FTC was

able to recover monetary relief under Section 13(b). See AMG, 141 S. Ct. at 1346-47. But those

decisions did not preclude courts (both the Supreme Court and lower courts) from revisiting the




23
   Plaintiffs also overlook that, when Section 13(b) was added to the FTC Act in 1973, United States v. W. T. Grant
Co. had been on the books for two decades. If Congress intended the “proper case” language to mirror the existing
standard for injunctive relief, it would not have needed to include the “proper case” language at all.



                                                        33
            Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 42 of 51




statutory language and diverging from the rationale of prior decisions upon a determination that

they were wrongly decided.

           In FTC v. Hoyal & Associates, the only Court of Appeals case Plaintiffs cite on this issue,24

the Ninth Circuit cited a handful of decades-old, pre-AMG decisions for the proposition that the

FTC can obtain injunctive relief without initiating administrative proceedings. 859 Fed. App’x

117, 120 (9th Cir. 2021) (citing FTC v. Evans Prods., 775 F.2d 1084, 1086 (9th Cir. 1985) and

FTC v. H. N. Singer, Inc., 668 F.2d 1107, 1110 (9th Cir. 1982)). The Hoyal decision offers no

substantive interpretation of the statutory language or the decision in AMG, and simply followed

that outdated precedent called into question by AMG. Id.

           Three of the five cited District Court cases were decided by the District of Arizona and

followed prior Ninth Circuit precedent. This Court need not do so. Unlike Hoyal, the District of

Arizona has considered the relevant language in AMG, and appears to agree with Defendants that

the Supreme Court was presenting two alternative readings of the statutory language—one that

requires the FTC to first obtain a preliminary injunction before seeking a permanent injunction

and the other that permits the FTC to dispense with administrative proceedings to seek a permanent

injunction in federal court. FTC v. Elec. Payment Sol. of Am. Inc., No. CV-17-02535, 2021 WL

3661138, at *16 (D. Ariz. Aug. 11, 2021). Ultimately, though, the court decided that it could “not

ignore Ninth Circuit precedent” (including Hoyal, Evans Products and H.N. Singer) “without a

clearer holding of law from the Supreme Court.” Id. at *16. See also FTC v. Noland, No. CV-20-

00047, 2021 WL 4127292, at *17 (D. Ariz. Sept. 9, 2021) (holding that AMG “overruled existing

Ninth Circuit law in one respect” but that prior Ninth Circuit holdings that the FTC can obtain

permanent injunctive relief in the absence of administrative proceedings “remain binding on


24
     Hoyal is unpublished and “not precedent” under Ninth Circuit Rules of Appellate Procedure (see R. 36-3).



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 43 of 51




district courts within the Ninth Circuit.”); FTC v. SuperTherm Inc., No. CV-20-08190, 2021 WL

3419035, at *6 (D. Ariz. Aug. 5, 2021) (same).

        In FTC v. Neora LLC, the Northern District of Texas similarly explained that AMG “made

no definitive statement regarding the availability of permanent injunctions vis-à-vis administrative

enforcement proceedings, nor any pronouncement as to what constitutes a ‘proper’ case under

13(b), in which a permanent injunction could be available.” 552 F. Supp. 3d 628, 634 (N.D. Tex.

2021). Like the District of Arizona, the Neora court was unwilling to reach a result that was

inconsistent with pre-AMG precedent (including H. N. Singer and other cases from the 1980s). Id.

at 634-36; see also FTC v. Am. Future Sys., Inc., No. 20-CV-2266, 2021 WL 3185777, at *1 (E.D.

Pa. July 26, 2021) (relying on pre-AMG cases from the Third, Seventh and Ninth Circuits to hold

that the FTC can obtain a permanent injunction without seeking preliminary or temporary relief).

        Here, Plaintiffs fail to cite (and Defendants have been unable to locate) any controlling

Second Circuit precedent that would compel this Court to disregard the Supreme Court’s dicta in

AMG.25 Thus, this Court can—and should—review the statutory language on its own, give

“considerable weight” to the Supreme Court’s discussion of the issue, and find that Section 13(b)’s

provision for permanent injunctive relief in “proper cases” means cases in which the agency has

either commenced a contemporaneous administrative proceeding and/or sought preliminary relief

at the outset of the federal court litigation.




25
   The only Second Circuit cases cited in connection with Plaintiffs’ Section 13(b) arguments are FTC v. Moses, 914
F.3d 297 (2d Cir. 2019) and SEC v. Commonwealth Chem. Sec., Inc., 574 F.2d 90 (2d Cir. 1978), but neither support
their position. (Opp. at 41 & n. 12.) In Moses, the FTC obtained a temporary restraining order at the outset of the
litigation and so the issue was not presented to the court. Moses. 914 F.3d at 304, 309-310. And Commonwealth
involved a different statute altogether (the Securities Act). Commonwealth, 574 F.2d at 92.



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         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 44 of 51




         B.       Plaintiffs Are Not Entitled To Injunctive Relief Under W. T. Grant

         Plaintiffs have also failed to establish their right to injunctive relief under W. T. Grant Co..

As discussed above and in Defendants’ Motion, W. T. Grant requires parties seeking an injunction

to show “that there exists some cognizable danger of recurrent violation, something more than the

mere possibility” that the conduct complained of could be repeated.” (Mot. at 41.) Plaintiffs also

cite American Freedom Defense Initiative v. Metropolitan Transportation Authority, which sets

forth a two-pronged test to determine whether a case is moot after the defendant voluntarily

discontinues challenged conduct. 815 F.3d 105 (2d Cir. 2016). Under that test, a case will be

deemed moot if “(1) it can be said with assurance that ‘there is no reasonable expectation’ that the

alleged violation will recur” and “(2) interim relief or events have completely and irrevocably

eradicated the effects of the alleged violation.” Id. Defendants’ Motion established, and Plaintiffs

failed to dispute, that there is no cognizable danger of recurrent violation and that the

circumstances satisfy the two-prong test set forth in American Freedom Defense Initiative.26

         First, there is no reasonable expectation that the alleged violations will recur. Defendants

have offered evidence establishing that they stopped disseminating the Challenged Claims in the

manner alleged in the Complaint and have no intention of resuming them. (SOF ¶¶ 28—38.)

Plaintiffs’ response that this evidence constitutes “self-serving statement[s] of Defendants’ future

intentions regarding advertising” is purely attorney argument that does not raise a triable issue of

fact precluding summary judgment. (CSOF ¶¶ 28—38.) Defendants proffered additional evidence

that they entered into a nationwide class action settlement agreement, reduced to a final judgment

by a federal court, resolving a series of class actions challenging the same marketing claims alleged




26
  Plaintiffs’ citation to American Freedom Defense Initiative is curious, as the Second Circuit found the two-pronged
test to be satisfied and vacated the previously-issued injunction as moot. 815 F.3d at 109-11.



                                                         36
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 45 of 51




in this Action in which Defendants agreed not to make the challenged marketing claims without

including one of two Qualifiers. (SOF ¶¶ 39, 42, 45.)27 Plaintiffs failed to cite any evidence to

dispute these facts, and instead simply argued that they are “irrelevant and immaterial.” (CSOF

¶¶ 39, 42, 45.) This is also insufficient to defeat summary judgment.

         Defendants’ evidence also satisfies the second prong of American Freedom Defense

Initiative—that interim relief or events have completely and irrevocably eradicated the effects of

the alleged violation. Not only have Defendants ceased disseminating the Challenged Claims,

every single person who purchased Prevagen in the United States since it became available for sale

in 2007 was entitled to obtain monetary relief and were provided with injunctive relief under the

Collins Settlement. (SOF ¶ 43.) The United States District Court for the Southern District of

Florida specifically found the terms of the Collins Settlement to be “fair, reasonable and adequate.”

(SOF ¶ 41.)28 Again, Plaintiffs fail to contest these facts, and simply argue that they are “irrelevant

and material.” (CSOF ¶¶ 41, 43.) But Plaintiffs’ own case law establishes their relevance, and

Plaintiffs’ lack of countervailing evidence warrants summary judgment in Defendants’ favor.29




27
  As discussed above, while Plaintiffs argue that the Qualifiers are inadequate to change the deceptive net impression
of Defendants’ ads” (Opp. at 38), Plaintiffs have offered no evidence to support such a claim. (See Section II.D,
supra.)
28
  Plaintiffs failed to distinguish, or even address, In re Santa Fe Natural Tobacco Co. Mktg. & Sales Pracs. & Prod.
Liab. Litig. 288, F. Supp. 3d 1087, 1212, 1233 (D.N.M. 2017) (cited on page 41-42 of Defendants’ Motion), which
declined to hold a defendant liable for using an advertising disclaimer that had previously been agreed to in a
settlement agreement with FDA.
29
  Plaintiffs’ citations to People v. Gen. Elec. Co., 302 A.D.2d 314, 316 (1st Dep’t 2003), State v. Midland Equities,
117 Misc. 2d 203 (Sup. Ct. N.Y. Cnty. 1982), and People v. Ludwig Bauman & Co., 56 Misc. 2d 153 (Sup. Ct. N.Y.
Cnty. 1968) are also unavailing, as they each involved truly voluntary cessation that was not accompanied by the
assurances provided by a class action settlement agreement reduced to a final judgment. (Opp. at 39.)



                                                         37
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 46 of 51




V.       THE NYAG’S CLAIMS ARE PREEMPTED OR BARRED BY THE SAFE
         HARBOR PROVISION IN THE GBL

         Quincy also established in its Motion that the NYAG’s claims are preempted, barred by

the GBL’s safe harbor provision, or both, and Plaintiffs fail to raise any dispute of fact suggesting

otherwise. (Mot. at 43—45.)

         As an initial matter, Defendants have not waived their preemption defense. Rule 8(c) of

the Federal Rules of Civil Procedure requires defendants to state affirmative defenses “in short

and plain terms” to “protect plaintiffs from any unfair surprise.” Colon ex rel. Molina v. BIC USA,

Inc., 136 F. Supp. 2d 196, 200 (S.D.N.Y. 2000). In Colon, this Court found the defendant had not

waived a preemption defense in a product liability action where its answer stated that the product

at issue “met and/or exceeded the applicable federal and industry standard” because that language

put the plaintiff “on notice” of a preemption defense (even though the defendant “did not

specifically use the word ‘preemption’ in its affirmative defense”). Id. Here, it is not even a close

call. Defendants did more than the defendant in Colon, alleging as its Fourteenth Affirmative

Defense that it “complied with all federal and state statutes, rules, regulations, or other laws in

effect at the time of its alleged conduct and, therefore, is not liable for any wrongdoing alleged in

the Complaint.” (Dkt. 73 at 10.) The lack of the specific word “preemption” is of no legal

relevance; that affirmative defense clearly put the NYAG on notice of Defendants’ preemption

defense, and any alleged “surprise” expressed by the NYAG as to this defense is unreasonable.30




30
  Even if Defendants’ Fourteenth Affirmative Defense did not put the NYAG “on notice” of its preemption defense,
that would not be fatal to the defense. As this Court has made clear, an affirmative defense “is not waived if it was
raised at a pragmatically sufficient time, and the plaintiff was not prejudiced in its ability to respond.” Julio & Sons
Co. v. Travelers Cas. and Sur. Co. of Am., 984 F. Supp. 2d 330, 339 (S.D.N.Y. 2010) (internal citations, quotation
marks, and brackets omitted). The NYAG has not and cannot demonstrate that it was prejudiced in its ability to
respond to Defendants’ preemption defense.




                                                          38
         Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 47 of 51




         The NYAG’s substantive arguments in opposition to Defendants’ preemption defense are

similarly unavailing. Most glaringly, the NYAG attempts to argue that the FDCA, as amended by

DSHEA, does not preempt state law claims for deceptive advertising because deceptive advertising

is subject only to the FTC Act. (Opp. at 46—49.) But that argument entirely ignores that the FTC

Guidance—which sets forth the standard for substantiating claims regarding dietary

supplements—was issued in response to DSHEA. (Graham Decl. Ex. F, FTC Guidance at 1

(stating that the FTC Guidance was issued to answer the “many questions” DSHEA generated

“about the FTC’s approach to dietary supplement advertising”).) Indeed, while Plaintiffs have

attempted to distance themselves from the FDCA, DSHEA and FDA law more generally

throughout this litigation, the NYAG now not only concedes its significance, but affirmatively

(and repeatedly) relies on it in Response to Defendants’ Rule 56.1 Statement. (CSOF ¶¶ 11, 56—

59, 62, 109.) By the NYAG’s own admission, then, the standards articulated in the FDCA and

DSHEA are relevant to assessing the advertising claims brought by the NYAG, and the NYAG’s

attempt to argue that Quincy was required to conduct a specific drug-level type of RCT to

substantiate its claims—a requirement that appears nowhere in the FTC Guidance, the FDCA, or

the DSHEA (or the FTC Act)—is unquestionably preempted. (Mot. at 43—44, discussing In re

PepsiCo, Inc., Bottled Water Mktg. & Sales Pracs. Litig., 588 F. Supp. 2d 527, 537 (S.D.N.Y.

2008) and Bimont v. Unilever U.S., Inc., No. 14 Civ. 7749, 2015 WL 5259688, at *7-8 (S.D.N.Y.

Sept. 9, 2015).31

         The NYAG’s remaining arguments do not move the needle. The NYAG argues that its

claims for deceptive practices and false advertising fall within areas traditionally governed by the


31
   Plaintiffs’ efforts to distinguish these cases are unpersuasive and should be ignored. Plaintiffs largely point to dicta
where the reviewing courts posit instances where state law claims may not be preempted. But this is not the situation
at bar. Here, like in these cases and the others cited in Defendants’ opening brief, Plaintiffs are premising their state
law claims on “requirements that are not parallel to those imposed by federal law” and such claims must be dismissed.



                                                           39
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 48 of 51




states’ police powers and, accordingly, there is a presumption against preemption. (Opp. at 48.)

But “the presumption generally does not apply to a sphere ‘where there has been a history of

significant federal presence.’” Gayle v. Pfizer, Inc., 452 F. Supp. 3d 78, 87 (S.D.N.Y. 2020)

(quoting N.Y. SMSA Ltd. P’Ship v. Town of Clarkstown, 612 F.3d 97, 104 (2d Cir. 2010)). It

cannot be disputed that there has been—and continues to be—a significant federal presence in the

area of regulating the advertisement and labeling of dietary supplements and, accordingly, any

presumption against preemption does not apply here. Id. at 88 (finding that the FDCA and FDA

regulations preempted state claims challenging the labeling of cholesterol management drug).

       Similarly, the NYAG argues that this Court should not find preemption because the

NYAG’s claims “exist separate and apart from the FDCA and DSHEA.” (Opp. at 49.) But the

cases cited by the NYAG all involve scenarios where the FDCA had not addressed or issued any

clear standards for the products challenged by state law claims. See Lara v. Cool Clouds

Distribution, Inc., No. 20-8030, 2021 WL 613842, at *9 (D.N.J. Feb. 16, 2021) (rejecting

preemption argument over product liability case brought under state law where FDCA had not

passed “design or product standards” for the products at issue); Elkind v. Revlon Consumer Prods.

Corp., No. 14 CV 2484, 2015 WL 2344134, at *7-8 (E.D.N.Y. May 14, 2015) (rejecting

preemption argument over state claims brought challenging cosmetics labels where the FDCA and

its regulations did not address that issue); Morelli v. Weider Nutrition Grp., 275 A.D.2d 607, 607

(1st Dep’t 2000) (rejecting preemption argument where, unlike here, no parallel claims brought

under the applicable federal statute and state claims did not impose liability for conduct sanctioned

by federal statute). Here, in contrast, the applicable federal law and regulations have specifically

endeavored—through the “defined standards” outlined in the FTC Guidance—to regulate the

product in question and, accordingly, the claims all overlap.




                                                 40
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 49 of 51




       Plaintiffs’ arguments that the “safe harbor” provisions in New York General Business Law

§§ 349 and 350 somehow do not apply here fail for similar reasons. It is undisputed that these

statutes provide for a “complete defense” against claims contending that certain practices violate

New York law where those practices are permitted by federal law. (Opp. at 50.) It is also

undisputed that New York law expressly incorporates the standards imposed by the FDCA,

providing that conduct that complies with federal law and regulations necessarily complies with

New York law. See Izquierdo v. Mondelez-Int’l, Inc., No. 16 Civ. 04697, 2016 WL 6459832, at

*3-4 (S.D.N.Y. Oct. 26, 2016). And it is undisputed that the NYAG is attempting to hold Quincy

to a higher substantiation standard than called for by the FDCA and DSHEA (and even the FTC

Act) by arguing that a drug-level RCT is required to substantiate its claims about Prevagen. There

are no issues of fact that preclude summary judgment on this point; indeed, this is precisely the

situation contemplated by the “safe harbor.”

VI.    THE NYAG CONCEDED ITS INABILITY TO RECOVER RESTITUTION ON
       BEHALF OF CONSUMERS WHOSE CLAIMS WERE RELEASED AS PART OF
       THE COLLINS SETTLEMENT

       In their moving brief, Defendants argued that “the NYAG is not entitled to recover

restitution on behalf of New York residents who purchased Prevagen prior to the Collins

Settlement” because those consumers’ claims were released as part of the Collins Settlement.

(Mot. at 45; Graham Decl. Exs. HH, JJ.) Despite purporting to oppose this argument (Opp. at

51—52), the NYAG expressly concedes this exact point in its Response to Defendants’ Rule 56.1

Statement, when it repeatedly asserts that “neither Plaintiff is seeking restitution on behalf of

consumers covered by the class action settlement.” (Pl. Add’l Facts ¶¶ 39—44, 51.) Thus, the

Parties are in agreement that Defendants are entitled to summary judgment dismissing the NYAG’s

claim for restitution to the extent such a claim applies to New York residents who purchased

Prevagen prior to, and therefore are bound by, the Collins Settlement. Plaintiffs’ additional claim


                                                41
        Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 50 of 51




for restitution on behalf of New York consumers who purchased Prevagen after the Collins

Settlement is barred for the same reasons discussed above, namely that Plaintiffs have to offer any

evidence that the Qualifier failed to cure the allegedly deceptive “net impression” of Defendants’

advertising. (See Section. II.D, supra.)

                                           CONCLUSION

       For the foregoing reasons, and for the reasons set forth in their moving papers, Defendants

respectfully request that the Court grant their motion and enter summary judgment in Defendants’

favor with respect to each of Plaintiffs’ claims with prejudice.




                                                 42
       Case 1:17-cv-00124-LLS Document 278 Filed 07/11/22 Page 51 of 51




Dated: July 11, 2022                   KELLEY DRYE & WARREN LLP



                                       By: /s/ Geoffrey W. Castello
                                            John E. Villafranco (admitted pro hac vice)
                                            Geoffrey W. Castello
                                            Jaclyn M. Metzinger
                                            Glenn T. Graham
                                            3 World Trade Center
                                            175 Greenwich Street
                                            New York, NY 10007
                                            Tel: (212) 808-7800
                                            Fax: (212) 808-7897
                                            jvillafranco@kelleydrye.com
                                            gcastello@kelleydrye.com
                                            jmetzinger@kelleydrye.com
                                            ggraham@kelleydrye.com

                                           Counsel for Defendants Quincy Bioscience
                                           Holding Company, Inc., Quincy Bioscience,
                                           LLC, Prevagen, Inc. d/b/a Sugar River
                                           Supplements, and Quincy Bioscience
                                           Manufacturing, LLC


                                       COZEN O’CONNOR P.C.


                                       By: /s/ Michael de Leeuw
                                           Michael de Leeuw
                                           Tamar S. Wise
                                           3 World Trade Center
                                           175 Greenwich Street
                                           New York, New York 10007
                                           Tel: (212) 908-1331
                                           mdeleeuw@cozen.com
                                           twise@cozen.com

                                           Counsel for Defendant Mark Underwood




                                      43
